Case 3:18-cv-00659-CAB-BGS Document 1 Filed 04/02/18 PageID.1 Page 1 of 6




                                                   '18CV0659 CAB BGS
Case 3:18-cv-00659-CAB-BGS Document 1 Filed 04/02/18 PageID.2 Page 2 of 6



 1            TO PLAINTIFF AND HER COUNSEL OF RECORD AND OT THE
 2   CLERK FOR THE UNITED STATES DISTRICT COURT FOR THE
 3   SOUTHERN DISTRICT OF CALIFORNIA:
 4            PLEASE TAKE NOTICE that Defendant LANDMARK WORLDWIDE
 5   LLC ("Defendant") through its counsel of record, submits this petition for removal
 6   of the action by Plaintiff DONNA JACKSON ("Plaintiff') from the Superior Court
 7   of the State of California, County of San Diego to the United States District Court
 8   for the Southern District of California pursuant to 28 U.S.C. 1331, 1441, 1446. The
 9   grounds for removal are as follows:
10   I.       STATEMENT OF JURISDICTION
11             1.       This Court has original jurisdiction over this action because of the
12   existence of a federal question. Specifically, Plaintiff has asserted a claim and seeks
13   remedies under the Fair Labor Standards Act ("FLSA") 29 U.S.C. § 201 et. seq.
14   See 28 U.S.C. §§ 1331, 1441(a) and (c).
15   II.      VENUE
16            2.        This action was filed in the Superior Court of California for the
17   County of San Diego. Thus, venue properly lies in the United States District Court
18   for the Southern District of California. See 28 U.S.C. §§ 84(c), 1391, and 1441(a).
19   III.     PLAINTIFF'S COMPLAINT
20            3.        This lawsuit arises out of Plaintiff's employment with Defendant
21   Landmark Worldwide LLC. On February 23, 2018, Plaintiff Donna Jackson filed
22   a Complaint in the Superior Court of California, County of San Diego, which was
23   assigned Case No. 37-2018-00009846-CU-OE-CTL ("Complaint"). In the
24   Complaint, Plaintiff alleges 12 causes of action for: 1) Disability Discrimination -
25   Failure to Make Reasonable Accommodation (Medical Disability); 2) Disability
26   Discrimination- Failure to Engage in the Interactive Process (Medical Disability);
27   3) Constructive Wrongful Termination in Violation of FEHA; 4) Constructive
28   Wrongful Termination in Violation of Public Policy; 5) Mischaracterization as
                                                   1
     DEFENDANT LANDMARK WORLDWIDE LLC'S NOTICE AND PETITION FOR REMOVAL OF ACTION
                       PURSUANT TO 28 U.S.C. §§ 1331, 1441, AND 1446
     i=Pnnrc:: q'UlQQR1A 1
Case 3:18-cv-00659-CAB-BGS Document 1 Filed 04/02/18 PageID.3 Page 3 of 6



 1   Exempt Employee; 6) Failure to Pay Compensation When Due; 7) Failure to
 2   Provide Premium Pay for Missed Meal Breaks; 8) Failure to Provide Premium Pay
 3   for Missed Rest Breaks; 9) Failure to Provide Accurate and Detailed Earning
 4   Statement; 10) Unjust Enrichment; 11) Unfair and Unlawful Business Practices;
 5   and 12) Negligent Infliction of Emotional Distress.
 6          4.     On March 1, 2018, Defendant was personally served at its corporate
 7   headquarters with the 1) Summons; 2) Complaint; 3) Civil Case Cover Sheet; 4)
 8   Notice of Case Assignment; and 5) Alternative Dispute Resolution Information
 9   Packet. Declaration of Aymara Ledezma ("Ledezma Deel.") at ii 3, Exhibit A.
10          5.     Defendant filed an Answer to the Complaint on April 2, 2018.
11   Ledezma Deel. at ii 4, Exhibit B.
12          6.     As of the date of this Removal, no other pleadings have been served
13   on Defendant in this action. Ledezma Deel. at ii 5.
14          7.     Based on the foregoing, Defendant is informed and believes that the
15   documents provided in Exhibit A and B hereto constitute the entire state court file
16   in this matter.
17   IV.    TIMELINESS OF REMOVAL
18          8.     This Notice of Removal has been filed within thirty (30) days of
19   service of Defendant and therefore the requirement of 28 U.S.C. § 1446(b)
20   requiring removal within 30 days of service of the Defendant has been satisfied. In
21   addition, this Notice of Removal has been filed within one year of commencement
22   of the action in state court as required by 28 U.S.C. § 1446(b). Therefore, this
23   Notice of Removal has been timely filed.
24   V.    FEDERAL QUESTION JURISDICTION
25          9.     This action is a civil action which this Court has original jurisdiction
26   under 28 U.S.C. § 1331, and is one which may be removed to this Court pursuant
27   to the provisions of 28 U.S.C. 1441(a) because Plaintiff has alleged a violation of
28   the Fair Labor Standards Act ("FLSA") and seeks relief under the FLSA.
                                               2
     DEFENDANT LANDMARK WORLDWIDE LLC'S NOTICE AND PETITION FOR REMOVAL OF ACTION
                       PURSUANT TO 28 U.S.C. §§ 1331, 1441, AND 1446
Case 3:18-cv-00659-CAB-BGS Document 1 Filed 04/02/18 PageID.4 Page 4 of 6



 1   Specifically, in Plaintiffs Fifth Cause of Action for "Mischaracterization as
 2   Exempt Employee" she alleges that Defendant is subject to the requirements of the
 3   FLSA." See Complaint at       iii!   80, 82. Plaintiff further alleges that Defendant
 4   "willfully violated the FLSA. . . by intentionally, knowingly and improperly
 5   classifying Plaintiff as exempt from the FLSA . . ." See Complaint at           ii   83.
 6   Accordingly, from the face of the Complaint it is evidence that Plaintiff is asserting
 7   that Defendant violated a federal law (the FLSA). Plaintiff also seeks unpaid
 8   minimum wages, unpaid overtime compensation, liquidated damages and
 9   attorneys' fees and costs, amongst other things, for Defendant's alleged violations
10   ofFLSA. See Complaint at ii 84.
11          10.   Plaintiffs tenth cause of action for "Unjust Enrichment" is based, in
12   part, on Plaintiffs contention that Plaintiff was "an exempt employee as described
13   by the FLSA ... " See Complaint at iJ 102. In her tenth cause of action, Plaintiff
14   seeks damages based on the allegation that her status was mischaracterized as
15   exempt under FLSA and Defendant received unjust enrichment because of this
16   alleged mischaracterization as exempt under the FLSA. See Complaint at iJ,-fl03-
17   104.
18          11.   Pursuant to 29 U.S.C. § 216(b) a claim for a violation of FLSA or a
19   request for remedies under the FLSA can be asserted in either state or federal court.
20   However, as explained by the United States Supreme Court in Breuer v. Jim's
21   Concrete a/Brevard, Inc., 538 U.S. 691, 693 (2003), ifthe action is brought in state
22   court, the defendant has the right to remove to federal court on the grounds that
23   federal question jurisdiction exists. The federal court must then retain jurisdiction
24   and refuse to remand the case back to state court. Id. In Breuer, the United States
25   Supreme Court explicitly rejected an employee's argument that because 29 U.S.C.
26   § 216(b) authorized parties to file FLSA claims in state and federal court, if filed
27   in state court, the FLSA claims are not subject to removal. Id. Therefore, removal
28   is proper here.
                                                 3
     DEFENDANT LANDMARK WORLDWIDE LLC'S NOTICE AND PETITION FOR REMOVAL OF ACTION
                       PURSUANT TO 28 U.S.C. §§ 1331, 1441, AND 1446
Case 3:18-cv-00659-CAB-BGS Document 1 Filed 04/02/18 PageID.5 Page 5 of 6



 1   VI.   NOTICE TO THE COURT AND PARTIES
 2         12.    Promptly upon filing of this Notice of Removal in the United States
 3   District Court for the Southern District of California, written notice of such filing
 4   will promptly be served upon Plaintiffs counsel of record and a copy of the Notice
 5   of Removal will be filed with the Clerk of the Court for the Superior Court of the
 6   County of San Diego, California.
 7

 8    Dated: April 2, 2018                        Respectfully submitted,
 9                                                FISHER & PHILLIPS LLP
10

11                                          By: fiM:mara Ledezma
                                                    STEN J. NESBIT
12                                              AYMARA LEDEZMA
                                                Attorneys for Defendant
13                                              LANDMARK WORLDWIDE LLC
14

15

16

17

18

19

20
21

22
23

24

25

26

27
28

                                              4
     DEFENDANT LANDMARK WORLDWIDE LLC'S NOTICE AND PETITION FOR REMOVAL OF ACTION
                       PURSUANT TO 28 U.S.C. §§ 1331, 1441, AND 1446
Case 3:18-cv-00659-CAB-BGS Document 1 Filed 04/02/18 PageID.6 Page 6 of 6



 1                                    CERTIFICATE OF SERVICE
 2          I, the undersigned am employed in the County of Los Angeles, State of
     California. I am over the age of 18 and not a party to the witfiin action; am
 3   employed with Fisher & Philhps LLP and my business address is 444 South Flower
     Street, Suite 1500, Los Angeles, California 90071.
 4
           On April 2, 2018, I served the foreg_oing document entitled DEFENDANT
 5   LANDMARK WORLDWIDE LLC'S NOTICE AND PETITION FOR
     REMOVAL OF ACTION PURSUANT TO 28 U.S.C. §§ 1331, 1441, aqd_,
 6   1446 on all the appearing and/or interested parties in this action by placing LJ the
     original l6j a true copy thereof enclosed in sealed envelope(s) addressed as
 7   follows:
      Patricia M. Bakst                              Attorney For Plaintiff
 8
      Law Office of Patricia M. Bakst                Raquel Montes
      11301 W. Olympic Blvd. Suite 467
 9
      Los Angeles, CA 90064                          Tel: 310.488.0924
10                                                   trish. bakst@gmail.com

11   ~      [by MAIL] - I am readily familiar with the firm's practice of collection and
            .Processing corres.P.ondence for mailing. Under that practice it would be
12          aeposited with the U.S. Postal Service on that same day with postage thereon
            fully prepaid at Los Angeles, California in the ordinary course of business.
13          I am aware that on motion of the party served, service is presumed invalid if
            P.Ostage cancellation date or post~e meter date is more than one day after
14          aate of deposit for mailing this affiaavit.
15   D       rby ELECTRONIC SUBMISSION] - I served the above listed
             aocument(s) described via the United States District Court's Electronic
16           Filing Program on the designated recipients via electronic transmission
             through the CM/ECF sy~tem on the Court's website. The Court's CM/ECF
17           system will generate a Notice of Electronic Filing (NEF) to the fil_il}g part).',
             the assigned judge, and any registered users in the case. The NEF will
18           constitute service of the document(s). Registration as a CM/ECF user
             constitutes consent to electronic service through the court's transmission
19           facilities.
20   D       rhy FEDERAL EXPRESS] - I am readily familiar with the firm's practice
             for collection and processing of correspondence for overnight delivery by
21           Federal Express. Under that practice such correspondence will be depositeCl
             at a facility or pick-up box regularly maintained by Federal Express for
22           receipt on the same day in the ordinary course of business with delivery fees
             paid or provided for in accordance with ordinary business practices.
23
           I declare that I am employed in the office of a member of the bar of this
24   Court at whose direction the service was made.
25
            Executed April 2, 2018, at Los Angeles, California.
26
       Liliana Sandoval
27                       Print Name

28
     09628.3637

                                         CERTIFICATE OF SERVICE
     FPDOCS 33899614.1
